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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION


 IN RE: DEERE & COMPANY REPAIR
 SERVICES ANTITRUST LITIGATION                         Case No.: 3:22-cv-50188

 THIS DOCUMENT RELATES TO:                             Hon. Iain D. Johnston
 ALL CASES


                                            ORDER

       Upon motion by the Parties and for good cause shown, pursuant to Federal Rule of

Evidence 502(d), it is hereby ORDERED:

       1.      The production of privileged or work-product-protected documents, electronically

stored information (“ESI”), or other information, whether inadvertent or for “quick peek,” is not a

waiver of the privilege or protection from discovery in this case or in any other federal or state

proceeding. This Order shall be interpreted to provide the maximum protection allowed by Federal

Rule of Evidence 502(d) and to limit the applicability of Federal Rule of Evidence 502(b) except

with respect to paragraph 6, infra.

       2.      To seek protection for inadvertently disclosed or “quick peek” documents subject

to a claim of attorney-client privilege, work-product protection, or other applicable privilege or

protection recognized by the Seventh Circuit Court of Appeals (notwithstanding that Federal Rule

of Evidence 502 is limited to the attorney-client privilege and work-product doctrine), a Party is

not required to show that reasonable steps were taken to avoid the disclosure of the documents or

information.

       3.      Upon receiving notice of a claim of privilege or protection on a produced document,

the party receiving such notice must within 10 business days destroy or sequester the specified
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information, along with any copies, notes, abstracts or compilations of the content thereof. Within

10 business days of providing notice of the claim of privilege or protection on a produced

document, the producing party shall substantiate the privilege or protection claim on a privilege

log and, if the privilege or protection claim only applies to part of the document, produce the

redacted version of the document.

           4.   The party receiving notice of a claim of privilege or protection must notify the

producing party whether it intends to challenge the claim of privilege or protection within 7

business days of receiving the redacted document or privilege log for the produced document at

issue. If the party receiving such notice challenges the producing party’s assertion of privilege or

protection, the parties shall then meet-and-confer regarding the challenge within 14 business days

of the party providing its notice of challenge and, if they are unable to reach agreement, they shall

submit the dispute to the Court within 14 business days of the meet-and-confer.

           5.   If the party receiving notice of a claim of privilege or protection does not challenge

the producing party’s assertion of privilege or protection, then upon expiration of the 7 business

day period, all copies of the disputed material shall be returned or destroyed

           6.   If the producing party claws back 10 percent or more of total documents produced,

or 5,000 or more documents that were produced more than 30 days from the production date before

notice of a claim of privilege or protection on a produced document, the party receiving notice of

a claim of privilege or protection shall have the right to elect that the protections provided by Rule

502(d) shall not apply to that set of documents, and instead Federal Rule of Evidence 502(b) shall

apply. 1




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   A document is a discrete piece of discovery material, such as an email, memorandum, computer
file, etc., assigned a unique record identifier or Begdoc id in a party’s production.
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       7.      If a party receiving notice of a claim of privilege or protection disputes the claim

of privilege or protection, the party receiving such notice shall not use or disclose the information

until the claim is resolved. If the party receiving such notice disclosed the information before

being notified, they shall take reasonable steps to prevent further use of such information until the

claim is resolved.

       8.      Nothing contained in this Order is intended to or shall serve to limit a party’s right

to conduct a review of documents, ESI, or other information for relevance, responsiveness,

privilege, or work-product protection before production.

       9.      Nothing contained in this Order is intended to or shall serve to extend or preserve

a party’s ability to assert a claim of privilege or protection, or clawback any document, if that

document has previously been introduced in the litigation, such as at deposition, in a filing, or at a

hearing, and the producing party did not previously provide notice of a claim of privilege or

protection on that document at the time the document was initially introduced or for a period of

seven days thereafter.



SIGNED this eighteenth day of November, 2022.




                                                      ___________________________________
                                                           HONORABLE IAIN D. JOHNSTON
                                                   UNITED STATES DISTRICT COURT JUDGE




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